Case: 1:07-0\/_-05276 Doc_ument #: 92 l|:i|ed: `07/_1_5/08 Page 1 Qf__.Z_P\age|D #:491

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IN THE UNITED STATES DISTRIC'I` CUURT
FC)R TI-IE NO`R“I`H.ERN DISTRICT OF ILLINOIS
EASTERN DlVISlON

ANTHONY SAI"`FDRD. flase No.: 07 CV 5276
Flaintit`t`. Judge: Coar
vs. Magistrate lodge K.eys

ANDREW JANIK, Star No. 10860~
ANTHONY BRUNCI. Star no. 12212,
.]OHNNIE M. MlNTER-EDWARDS. Star No.
211(:11_ THOMAS R, SHEB[SH. Star No,
20419, .|LYNN PIERCE. Star No. 8266, 1
TERRY i-iIL.LAR.D, LORl Ll(.'jHTFOC)T, TlSA
MORRIS. PHILLlP CLINE, MAYOR
RICHARD DALEY. and the CITY OF
C`HICAGO

Dei`endants.

 

AGREED OR.DER DF DISMISSAL

This matter corning before the Court on the Stipulation of the parties. the parties having
reached agreement to settle this matter, and the respective parties being represented by counsel,
plaintiff Anthony Sat`t`ord, by one of` his attorneys. Elake Horwita.. and defendants ANDREW
.lANIK. Star No. 10860, AN`THC)NY BRUNO, Star no. 12212, JDHNNIE M. MINTER-
EDWARDS, Star No. 21161` THOMAS R. SHEBISH. Star No. 20419, JLYNN PIERCE, Star NO.
8266, TERRY HILLARD, LORI LIGHTFOOT, TISA MORRIS, PHILLIP CLINE, MAYOR
RiCHARD DALEY, and the CITY OF CHICAGD, by one of their attorneys, Terranee M. Burns.
and the parties having entered into a Release and Settlement Agreement and Stipulation to Dismiss,
the t`.?ourt being otherwise fully advised in the premises. hereby incorporates the terms ot` the Release
and Sett‘tq§h&ii §§W€il§iieriit§e?ein and further orders as foliows:

gm ogth£a:la§hswpwiiztiff Anthony Sat`ford against defendants, ANDR-EW `-J-AN-i-K. Star

Nn. iosoo, ANrtjot§t$§t"dthNo. star no. 12212. JOHNNIE M. MlNTEa-E.DWARDS. star No.

 

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21161, THOMAS R. SHEBISH, Star No. 20419, JLYNN PIERCE, Star No. 8266. TERRY
['IILLARD, LDRI i..IGI.-ITFOOT. TISA MORR.IS. PHILUP CLINE, MAYOR RICHARD DALEY,
and the ClTY OF CHICAGO are dismissed with prejudice and With each side bearing its own costs

and attorney t`ees in accordance With the terms of the

 
  

ENTER:
lodge Coar
United States Distriot Judge

oATEo;MCHV

Terrence M. Bums. ARDC`. No_ 3122331 Blake Horwitz

Pattl A. Miohalil<, ARDC No. 6193674 Abbas Merchant

Daniel M. Noland, ARDC No. 6231 175 Hoi'witz, Riehardson &. Baker LLC
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